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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )            CASE NO. CR04-512-MJP
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )            ORDER DENYING DEFENDANT
                                          )            JAMES WALTER’S RENEWED
12   JAMES KENT WALTER,                   )            MOTION FOR ORDER SETTING
                                          )            NEW CONDITIONS OF RELEASE
13         Defendant.                     )
     ____________________________________ )
14

15          Defendant James Kent Walter, through his attorney of record Kenneth E. Kanev, has filed

16 a motion asking that conditions of pre-trial release be imposed allowing for home detention with

17 electronic monitoring, with release for outpatient mental health and drug treatment counseling.

18 The motion was referred by the Honorable Marsha J. Pechman to the undersigned Magistrate

19 Judge. (DKT 182)

20                                           Case History

21          Mr. Walter, together with eight co-defendants, is charged in an eleven-count Indictment

22 for Conspiracy to Commit Bank Fraud and Bank Fraud. The Indictment charges that the total

23 amount of actual and intended monetary loss exceeded $200,000 and in excess of 50 victims. Mr.

24 Walter is charged with possessing materials to manufacture fraudulent identity documents and with

25 manufacturing such documents to aid in the conspiracy. (DKT 1)

26          Mr. Walter was released on an appearance bond on December 7, 2004. (DKT 23) Within


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01 a few weeks, his pretrial services officer reported that he had violated pretrial release by testing

02 positive for methamphetamines. (DKT 53) He admitted using methamphetamines, and requested

03 referrals for mental health treatment, as he felt his drug use was linked to depression. He was

04 given three referrals for mental health counselors.

05          Mr. Walter’s pretrial services officer reported that he had missed drug testing on February

06 18 and 25, and March 1, 9 and 14, 2005. (DKT 104, 110) A summons was issued, but Mr. Walter

07 failed to appear for hearing. His counsel represented that Mr. Walter had been given incorrect

08 information as to the date and time of the hearing. Mr. Walter appeared the next day (DKT 111,

09 112) and the hearing was rescheduled, and Mr. Walter was ordered to report to the pretrial

10 services office immediately for drug testing. At his bond revocation hearing, another violation

11 report was filed, indicating that Mr. Walter had tested positive for methamphetamine on March

12 17 and 22, 2005. (DKT 134) A hearing was held on the violations on March 29, 2005 (DKT 136)

13 and April 14, 2005 (DKT 148), at which time a new bond violation report had been filed,

14 indicating that defendant failed to report for drug testing on April 4 and 8, and tested positive for

15 methamphetamines on April 11, 2005 (DKT 147). On April 14, 2005, the undersigned held a

16 lengthy revocation hearing (DKT 148), carefully considered the evidence, heard testimony from

17 the defendant and his father, and argument of counsel, following which defendant’s bond was

18 revoked and he was remanded to custody. (DKT 149)

19          On July 8, another hearing was held before the undersigned Magistrate Judge following

20 the defendant’s motion to set conditions of release. (DKT 172). Defense counsel argued that his

21 client was suicidal and was not getting appropriate care at the Federal Detention Center. He asked

22 that Mr. Walter be released to reside with his father under conditions of home detention and

23 electronic monitoring, for outpatient mental health care. The bond hearing was continued to July

24 13, 2005 to give the Court the opportunity to hear from personnel at the FDC about defendant’s

25 care. The court heard from both attorneys, from the Pretrial Services Officer, from Dr. Skillestad

26 and Dr. Salzberg from the FDC. (DKT 175) The defendant was ordered released to an inpatient


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01 drug treatment facility, if he qualified for acceptance into the program. (DKT 177) If defendant

02 did not qualify for the program, he would remain in custody.

03          Following the July 13, 2005 hearing, it was determined that the inpatient drug treatment

04 facility would not accept the defendant into the program because of multiple incidents of suicidal

05 behavior while in custody at the FDC, and the uncertainty of being able to guarantee Mr. Walter’s

06 safety and well-being while in the program.

07          Defendant now moves for entry of an order setting new conditions of release, to allow him

08 to reside with his father under pre-trial supervision and electronic home detention, with release for

09 outpatient mental health/drug treatment counseling. The Court finds that oral argument would

10 not be helpful or necessary in addressing the motion.

11          In the course of a number of lengthy bond revocation hearings, the Court has become

12 familiar with the issues relating to Mr. Walter’s methamphetamine addiction and compliance

13 problems. There is a lack of agreement as to the extent of defendant’s mental health problems.

14 The staff at the FDC believe, based on their observation of the defendant and by his statements

15 to them, that the defendant engaged in actions designed to appear as suicidal efforts, but which

16 were consciously intended to secure his release from custody into less restrictive conditions.

17 Defendant’s Pretrial Officer believes that outpatient treatment would be of limited benefit to the

18 defendant, given the extent of his substance abuse problem. Furthermore, the Court notes that the

19 defendant has not complied with conditions of pretrial release in the past, and is unlikely to do so

20 in the future. The Court found that only the proposed inpatient treatment program would have

21 presented sufficiently restrictive conditions to allow the defendant’s release from custody. That

22 program is unwilling to accept the defendant into the program because of the defendant’s suicidal

23 gestures and the concern about his safety while in the program.

24          The conditions proposed by the defendant are not materially different from those suggested

25 at the previous bond hearing. The only different is that defendant has included specific treatment

26 providers in the proposal. Even though defense counsel reports that Mr. Walter has not had any


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01 behavioral problems at FDC for the last two weeks, this does not overcome the fact that defendant

02 engaged in multiple incidents of suicidal gestures in the past, and was in very poor compliance

03 while previously on supervised release.

04          Therefore, IT IS ORDERED that defendant’s motion to set new conditions of release is

05 DENIED.

06          The Clerk is directed to send copies of this Order to counsel of record, to the Honorable

07 Marsha J. Pechman, and to Judge Theiler.

08          DATED this 10th day of August, 2005.

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                                                  A
                                                  Mary Alice Theiler
                                                  United States Magistrate Judge
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